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                                                       Real Property Lease
                                                       Address / Description of
Counterparty                     Debtor Party          Contract Rejection         Rejection Date
ALERT 360 SARASOTA
                                                       ALARMS FOR 7157
2448 E 81ST STREET SUITE 4200    RUBY TUESDAY, INC
                                                       COOPER CREEK
TULSA OK 74137‐0000                                                               2/10/2021
                                                       8610 MARTIN MILL PIKE
COMPLETE BUSINESS SERVICES       RUBY TUESDAY, INC
                                                       KNOXVILLE, TN 37920        2/10/2021
                                                       1600 AMPHITHEATRE
GOOGLE                           RUBY TUESDAY, INC     PKWY
                                                       MOUNTAIN VIEW, 94043       2/10/2021
GREENLEAF COMPACTION INC
                                                       TRASH COMPACTOR LEASE
PO BOX 29661 2008                RUBY TUESDAY, INC
                                                       FOR 7149
PHOENIX AZ 85038                                                                  2/10/2021
GREENLEAF COMPACTION INC
                                                       TRASH COMPACTOR LEASE
PO BOX 29661 2008                RUBY TUESDAY, INC
                                                       FOR 7157 COOPER CREEK
PHOENIX AZ 85038                                                                  2/10/2021
HOSPITALITY LODGING INVESTORS, a                       South York
PENNSYLVANIA LIMITED             RUBY TUESDAY, INC     255 ST. CHARLES WAY
PARTNERSHIP                                            YORK, PA, 17402            2/10/2021
                                                       2601 SAGEBRUSH DRIVE,
                                                       SUITE 101
HOTEL ADVISORY, LLC (HVS)        RUBY TUESDAY, INC
                                                       FLOWER MOUND, TX
                                                       75028                      2/10/2021
                                                       CREDIT WORTHINESS
INFOR / SMARTSTREAM                                    REFERENCE CHECK
LICENSE MANAGEMENT                                     SOFTWARE
                              RUBY TUESDAY, INC
DBA DUN & BRADSTREET SOFTWARE                          500 West Madison,
SERVICES                                               Suite 2100,
                                                       Chicago, IL 60661          2/10/2021

                                                       1221 PUERTA DEL SOL,
JDS REAL ESTATE SERVICES         RUBY TUESDAY, INC     SUITE 600
                                                       SAN CLEMENTE, CA 92673
                                                                                  2/10/2021
KONICA MINOLTA/ WELLS FARGO
FINANCIAL LEASING                                      CORETRUST AGREEMENT
                                 RUBY TUESDAY, INC
USA INC DEPT AT 952823                                 FOR BIZHUB LEASE
ATLANTA GA 31192‐0000                                                             2/10/2021
                                                       8401 COLESVILLE ROAD,
                                                       SUITE 750
MERCHANT LINK                    RUBY TUESDAY, INC
                                                       SILVER SPRINGS, MD
                                                       20910                      2/10/2021
NRD CAPITAL MANAGEMENT, LLC
4170 ASHFORD DUNWOODY ROAD,                            CEO SECONDMENT
SUITE #390,                      RUBY TUESDAY, INC     AGREEMENT DATED
ATLANTA, GA, 30319                                     6/24/2019
ATTN: AZIZ HASHIM                                                                 2/10/2021
NRD CAPITAL MANAGEMENT, LLC
4170 ASHFORD DUNWOODY ROAD,                            COO SECONDMENT
SUITE #390,                      RUBY TUESDAY, INC     AGREEMENT DATED
ATLANTA, GA, 30319                                     4/1/2020
ATTN: AZIZ HASHIM                                                                 2/10/2021
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                                                                     RealPropertyLease
                                                                     Address/Descriptionof
Counterparty                           DebtorParty                ContractRejection          RejectionDate
QUADIENT(MAILFINANCE)                                            PRODUCTLEASE
POBOX6813                          RUBYTUESDAY,INC            AGREEMENTW/METER
CAROLSTREAMIL60197Ͳ0000                                           RENTALAGREEMENT            2/10/2021
SHOFFNERMECHANICALSERIVCES                                        PREVENTIVE
POBOX10048                         RUBYTUESDAY,INC            MAINTENANCE
KNOXVILLETN37939Ͳ0000                                              AGREEMENT                   2/10/2021
SPECTRUMSETTLEMENTRECOVERY,
LLC                                                                  SERVICESAGREEMENT
22BatteryStreet,Suite700                                         DATED10/31/2005AND
SanFrancisco,CA94111                 RUBYTUESDAY,INC            FIRSTAMENDMENTTO
And                                                                  SERVICESAGREEMENT
555CaliforniaStreet,Suite1820                                    DATED1/31/2011
SanFrancisco,CA94104                                                                     2/10/2021
UNITEDELEVATORSERVICESLLC                                        SERVICEAGREEMENTFULL
POBOX1301                          RUBYTUESDAY,INC            MAINTENANCEFOR
KNOXVILLETN37901Ͳ0000                                              OFFICE                  2/10/2021

                                                                     8500GOVERNORSHILLDR
WORLDPAY                                RUBYTUESDAY,INC            SYMMESTOWNSHIP,OH
                                                                     45249Ͳ0000
                                                                                                 2/10/2021

Inaddition,thefollowingcontractsarerejected:
Allcontractsofinsurancewhicharenotexecutory.
AllcontractsandleasesassociatedwithanylocationsclosedasoftheEffectiveDate.
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                                   LEASES TO BE REJECTED

                  IN ACCORDANCE WITH THE TERMS OF THE PLAN

 Restaurant           Landlord or                                            Real Property
                                                 Debtor-Tenant
     ID            Counterparty Name                                         Lease Address
                                                                      Salisbury
 2682                                         Ruby Tuesday, Inc.      2300 NORTH SALISBURY
                  RPI Salisbury Mall, LLC
                                                                      BOULEVARD H101
                                                                      SALISBURY MD 21801




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                                                       Real Property Lease
                                                       Address / Description of
Counterparty                     Debtor Party          Contract Rejection         Rejection Date
ALERT 360 SARASOTA
                                                       ALARMS FOR 7157
2448 E 81ST STREET SUITE 4200    RUBY TUESDAY, INC
                                                       COOPER CREEK
TULSA OK 74137‐0000                                                               2/10/2021
                                                       8610 MARTIN MILL PIKE
COMPLETE BUSINESS SERVICES       RUBY TUESDAY, INC
                                                       KNOXVILLE, TN 37920        2/10/2021
                                                       1600 AMPHITHEATRE
GOOGLE                           RUBY TUESDAY, INC     PKWY
                                                       MOUNTAIN VIEW, 94043       2/10/2021
GREENLEAF COMPACTION INC
                                                       TRASH COMPACTOR LEASE
PO BOX 29661 2008                RUBY TUESDAY, INC
                                                       FOR 7149
PHOENIX AZ 85038                                                                  2/10/2021
GREENLEAF COMPACTION INC
                                                       TRASH COMPACTOR LEASE
PO BOX 29661 2008                RUBY TUESDAY, INC
                                                       FOR 7157 COOPER CREEK
PHOENIX AZ 85038                                                                  2/10/2021
HOSPITALITY LODGING INVESTORS, a                       South York
PENNSYLVANIA LIMITED             RUBY TUESDAY, INC     255 ST. CHARLES WAY
PARTNERSHIP                                            YORK, PA, 17402            2/10/2021
                                                       2601 SAGEBRUSH DRIVE,
                                                       SUITE 101
HOTEL ADVISORY, LLC (HVS)        RUBY TUESDAY, INC
                                                       FLOWER MOUND, TX
                                                       75028                      2/10/2021
                                                       CREDIT WORTHINESS
INFOR / SMARTSTREAM                                    REFERENCE CHECK
LICENSE MANAGEMENT                                     SOFTWARE
                              RUBY TUESDAY, INC
DBA DUN & BRADSTREET SOFTWARE                          500 West Madison,
SERVICES                                               Suite 2100,
                                                       Chicago, IL 60661          2/10/2021

                                                       1221 PUERTA DEL SOL,
JDS REAL ESTATE SERVICES         RUBY TUESDAY, INC     SUITE 600
                                                       SAN CLEMENTE, CA 92673
                                                                                  2/10/2021
KONICA MINOLTA/ WELLS FARGO
FINANCIAL LEASING                                      CORETRUST AGREEMENT
                                 RUBY TUESDAY, INC
USA INC DEPT AT 952823                                 FOR BIZHUB LEASE
ATLANTA GA 31192‐0000                                                             2/10/2021
                                                       8401 COLESVILLE ROAD,
                                                       SUITE 750
MERCHANT LINK                    RUBY TUESDAY, INC
                                                       SILVER SPRINGS, MD
                                                       20910                      2/10/2021
NRD CAPITAL MANAGEMENT, LLC
4170 ASHFORD DUNWOODY ROAD,                            CEO SECONDMENT
SUITE #390,                      RUBY TUESDAY, INC     AGREEMENT DATED
ATLANTA, GA, 30319                                     6/24/2019
ATTN: AZIZ HASHIM                                                                 2/10/2021
NRD CAPITAL MANAGEMENT, LLC
4170 ASHFORD DUNWOODY ROAD,                            COO SECONDMENT
SUITE #390,                      RUBY TUESDAY, INC     AGREEMENT DATED
ATLANTA, GA, 30319                                     4/1/2020
ATTN: AZIZ HASHIM                                                                 2/10/2021
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                                                                     Real Property Lease
                                                                     Address / Description of
Counterparty                            Debtor Party                 Contract Rejection         Rejection Date
QUADIENT (MAIL FINANCE )                                             PRODUCT LEASE
PO BOX 6813                             RUBY TUESDAY, INC            AGREEMENT W/ METER
CAROL STREAM IL 60197‐0000                                           RENTAL AGREEMENT           2/10/2021
SHOFFNER MECHANICAL SERIVCES                                         PREVENTIVE
PO BOX 10048                            RUBY TUESDAY, INC            MAINTENANCE
KNOXVILLE TN 37939‐0000                                              AGREEMENT                  2/10/2021
SPECTRUM SETTLEMENT RECOVERY,
LLC                                                                  SERVICES AGREEMENT
22 Battery Street, Suite 700                                         DATED 10/31/2005 AND
San Francisco, CA 94111                 RUBY TUESDAY, INC            FIRST AMENDMENT TO
And                                                                  SERVICES AGREEMENT
555 California Street, Suite 1820                                    DATED 1/31/2011
San Francisco, CA 94104                                                                     2/10/2021
UNITED ELEVATOR SERVICES LLC                                         SERVICE AGREEMENT FULL
PO BOX 1301                             RUBY TUESDAY, INC            MAINTENANCE FOR
KNOXVILLE TN 37901‐0000                                              OFFICE                 2/10/2021

                                                                     8500 GOVERNORS HILL DR
WORLDPAY                                RUBY TUESDAY, INC            SYMMES TOWNSHIP, OH
                                                                     45249‐0000
                                                                                                2/10/2021

In addition, the following contracts are rejected:
All contracts of insurance which are not executory.
All contracts and leases associated with any locations closed as of the Effective Date.
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                                   LEASES TO BE REJECTED

                  IN ACCORDANCE WITH THE TERMS OF THE PLAN

 Restaurant           Landlord or                                            Real Property
                                                 Debtor-Tenant
     ID            Counterparty Name                                         Lease Address
                                                                      Lisbon
 4431             Lisbon Landing, LLC         Ruby Tuesday, Inc.      160 RIVER ROAD, SUITE A‐200
                                                                      LISBON CT 06351
                                                                      Salisbury
 2682                                         Ruby Tuesday, Inc.      2300 NORTH SALISBURY
                  RPI Salisbury Mall, LLC
                                                                      BOULEVARD H101
                                                                      SALISBURY MD 21801




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